                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

   UNITED STATES OF AMERICA                        )
                                                   )
   v.                                              )            No. 3:13-CR-014
                                                   )
   RANDALL ALLEN RINES                             )


                               MEMORANDUM AND ORDER

          Now before the Court are the defendant’s pro se motion for compassionate release

   pursuant to 18 U.S.C. 3582(c)(1)(A)(i) and his pro se motion for the appointment of

   counsel. [Docs. 201, 210]. The United States has responded in opposition [docs. 221, 222]

   and the defendant has submitted a reply. [Doc. 229]. For the reasons that follow, the

   motions will be denied.

                                   I.     BACKGROUND

         In 2013, the Honorable Danny Reeves sentenced the defendant to a 270-month term

   of imprisonment for conspiring to distribute methamphetamine. The defendant was a

   Career Offender under the Sentencing Guidelines, and he also initially faced a mandatory

   life sentence due to two prior convictions for felony drug offenses.        [Presentence

   Investigation Report (“PSR”), doc. 106, ¶¶ 2-4, 24, 66].

         The defendant is presently housed at FCI Ashland with a projected release date of

   May 23, 2033. See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited Oct.




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      6, 2021). He moves for compassionate release due to the COVID-19 pandemic, type 2

      diabetes, obesity, COPD, hypertension, his age (58), and his rehabilitative efforts. 1

                                  II. COMPASSIONATE RELEASE

            Section 3582(c)(1)(A)(i) of Title 18, United States Code, allows district courts to

  consider prisoner motions for sentence reduction upon a finding of “extraordinary and

  compelling reasons.” That statute, as amended by the First Step Act of 2018, provides in

  relevant part:

            [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
            upon motion of the defendant after the defendant has fully exhausted all
            administrative rights to appeal a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse of 30 days from the receipt of
            such a request by the warden of the defendant’s facility, whichever is earlier,
            may reduce the term of imprisonment (and may impose a term of probation or
            supervised release with or without conditions that does not exceed the unserved
            portion of the original term of imprisonment), after considering the factors set
            forth in section 3553(a) to the extent that they are applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a reduction ... and
               that such a reduction is consistent with applicable policy statements issued
               by the Sentencing Commission....

      18 U.S.C. § 3582(c)(1)(A)(i). Prior to the First Step Act, a motion for compassionate

      release could only be brought by the BOP Director, not a defendant.                   See 18 U.S.C. §

      3582(c)(1)(A) (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant

      to file a motion for compassionate release after first asking the BOP to file such a motion

      on her behalf. See, e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020).



  1
    The defendant also raises arguments pertaining to his conditions of confinement. Such claims might be
  cognizable, see, e.g., Estelle v. Gamble, 429 U.S. 97 (1976), but they should be presented in a civil lawsuit in
  the prisoner’s district of confinement after the exhaustion of administrative remedies. See 42 U.S.C. §
  1997e(a). There is no evidence that this defendant has exhausted his administrative remedies on those claims,
  nor is he incarcerated in this judicial district.
                                                        2

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            The United States Sentencing Commission has promulgated a policy statement

      regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

      the accompanying application notes. District courts in this circuit have previously turned

      to U.S.S.G. § 1B1.13 to provide guidance on the “extraordinary and compelling reasons”

      that may warrant a sentence reduction but are no longer to do so, at least as to

      compassionate release motions filed by defendants (rather than by the BOP). See United

      States v. Jones, 980 F.3d 1098, 1108 (6th Cir. 2020) (“[H]olding” that guideline 1B1.13 “is

      not an ‘applicable’ policy statement when an imprisoned person files a motion for

      compassionate release.”); accord United States v. Elias, 984 F.3d 516 (6th Cir. 2021).2

              In Jones, the Sixth Circuit observed that “[d]istrict courts should [still] consider all

      relevant § 3553(a) factors before rendering a compassionate release decision.” 980 F.3d at

      1114. Subsequently, in Elias, the appellate court “clarified” that “district courts may deny

      compassionate-release motions when any of the three prerequisites listed in §

      3582(c)(1)(A) is lacking and do not need to address the others.” 984 F.3d at 519.

          A. Exhaustion

              The defendant has previously submitted a compassionate release request to the BOP,

      and more than 30 days have passed since that request was received by the warden. [Doc.

      201]. The Court thus has authority under § 3582(c)(1)(A) to address the instant motion.

      See Alam, 960 F.3d at 832.




  2
      The parties in this case have not addressed any guideline policy statement other than § 1B1.13.
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      B. Merits

          As mentioned above, in support of his motion the defendant cites the COVID-19

   pandemic, type 2 diabetes, obesity, COPD, hypertension, his age (58), and his rehabilitative

   efforts.

          At the defendant’s correctional institution, there are currently six staff and zero

   inmates positive for COVID-19, with 294 inmates and 94 staff having recovered, and six

   inmate deaths. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Oct.

   6, 2021). These numbers are historically significant, but the Court simultaneously notes

   that outside the prison setting our nation remains in grave crisis in terms of COVID

   diagnoses, variants, hospitalizations, and deaths. Further, the COVID-19 pandemic cannot

   alone justify compassionate release. See, e.g., United States v. Shah, No. 16-20457, 2020

   WL 1934930, at *2 (E.D. Mich. April 22, 2020) (“[S]peculation as to whether COVID-19

   will spread through Defendant’s detention facility . . . , whether Defendant will contract

   COVID-19, and whether he will develop serious complications, does not justify the

   extreme remedy of compassionate release.”); see also United States v. Raia, 954 F.3d 594,

   597 (3d Cir. 2020) (“[T]he mere existence of COVID-19 in society and the possibility that

   it may spread to a particular prison alone cannot independently justify compassionate

   release[.]”). Additionally, at the defendant’s prison 140 staff and 985 inmates have now

   been fully vaccinated. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last

   visited Oct. 6, 2021). The defendant previously contracted COVID-19 and has since been

   vaccinated [doc. 222], although it is at this time common knowledge that persons can

   become infected with COVID-19 even if they have previously had the virus and even if

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   they are vaccinated.

          BOP medical records confirm that the defendant had a bilateral partial lung removal

   in 2011 and is “a bad COPD patient.” [Id.]. He has a “long history” of smoking, had two

   prior tracheostomies following a motor vehicle accident, and he developed double

   pneumonia at that time. [Id.]. He has type 2 diabetes which, as of February 2021, is “well

   controlled.” [Id.]. The defendant is prescribed medication for hypertension. [Id.]. As of

   March 2, 2021, he weighed 225.6 pounds with a height of 71 inches [id.], resulting in a

   body     mass    index     (“BMI”)     of     31.5.       See    Adult    BMI      Calculator,

   https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english_bmi_calculator/bmi

   _calculator.html (last visited Oct. 6, 2021). Persons with a BMI of 30 or greater are

   considered obese. Id.

          Type 2 diabetes, COPD, obesity, hypertension, and smoking history are all conditions

   which possibly increase the risk of severe illness from COVID-19, and the risk of serious

   complications increases with age.           See People with Certain Medical Conditions,

   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical

   -conditions.html (last visited Oct. 6, 2021). In light of the defendant’s combination of those

   health conditions, the Court will presume for purposes of the instant motion that he has met

   his burden of establishing an extraordinary and compelling basis for compassionate release.

          The Court concludes, however, that the defendant’s release would not be consistent

   with 18 U.S.C. § 3553(a). Consistent with § 3582 and the Sixth Circuit’s holding in Jones,

   the Court has considered the defendant’s arguments (individually and in combination)

   along with the broader facts of this case in light of the pertinent § 3553(a) factors. Pursuant

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   to that statute,

         The court shall impose a sentence sufficient, but not greater than necessary, to
         comply with the purposes set forth in paragraph (2) of this subsection. The
         court, in determining the particular sentence to be imposed, shall consider –

         (1) the nature and circumstances of the offense and the history and
         characteristics of the defendant;

         (2) the need for the sentence imposed—

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant; and

             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner;

         (3) the kinds of sentences available;

         (4) the kinds of sentence and the sentencing range established for—

             (A) the applicable category of offense committed by the applicable category
             of defendant as set forth in the guidelines—

                   (i) issued by the Sentencing Commission pursuant to section 994(a)(1)
                   of title 28, United States Code, subject to any amendments made to such
                   guidelines by act of Congress (regardless of whether such amendments
                   have yet to be incorporated by the Sentencing Commission into
                   amendments issued under section 994(p) of title 28); and

                   (ii) that, except as provided in section 3742(g), are in effect on the date
                   the defendant is sentenced; . . .

             ...

         (5) any pertinent policy statement—




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            (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
            title 28, United States Code, subject to any amendments made to such policy
            statement by act of Congress (regardless of whether such amendments have
            yet to be incorporated by the Sentencing Commission into amendments
            issued under section 994(p) of title 28); and

            (B) that, except as provided in section 3742(g), is in effect on the date the
            defendant is sentenced.

         (6) the need to avoid unwarranted sentence disparities among defendants with
         similar records who have been found guilty of similar conduct; and

         (7) the need to provide restitution to any victims of the offense.

   18 U.S.C. § 3553(a).

         The Court appreciates that the defendant has incurred no disciplinary sanctions while

   serving his current sentence, that he continues to pursue his GED, and that he is

   participating in vocational and educational programming to the extent that such training is

   available during the pandemic. [Docs. 201; 221, p. 11]. The Court encourages him to

   remain on that path.

         However, the defendant’s offense conduct in this case represents the continuation of

   a lengthy and serious criminal history. Over a span of approximately 11 months, he

   conspired with others to distribute 99.9% purity methamphetamine. [Doc. 106, ¶¶ 10-11].

   For sentencing purposes the defendant was held accountable for only 150 to 500 grams of

   methamphetamine, even though more than 48 pounds of the drug were imported into this

   district during the conspiracy. [Id., ¶¶ 12-13].

         The defendant’s criminal history commenced in 1997 with convictions for reckless

   driving, false imprisonment, assault, and criminal trespass. [Id., ¶¶ 31-33]. In 2001 he was

   again convicted of assault. [Id., ¶ 34]. In 2004 he was convicted of possession of drug

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   paraphernalia, possession of methamphetamine with intent to sell, and simple possession

   of marijuana. [Id., ¶¶ 36-37]. In 2005, he was convicted of possessing a material for use

   in manufacturing a controlled substance. [Id., ¶ 38]. In two of those cases, his probation

   was subsequently revoked. [Id., ¶¶ 37-38]. Lastly, there was a marijuana manufacture

   conviction in 2012, and he committed the instant offense while still on probation for that

   crime. [Id., ¶ 39, 41].

         Many of the defendant’s cited health conditions predate the instant offense. His car

   accident and tracheostomies occurred in 2009.          [Id., ¶¶ 51-55].    He already had

   hypertension [id., ¶ 56] and a history of smoking when sentenced in this case. None of

   those health issues were sufficient to keep him from participating in a large-scale

   methamphetamine conspiracy.

         Of additional concern is the defendant’s history of substance abuse which dates back

   to at least age 13. [Id., ¶ 59]. He told his PSR writer that he “would like to participate in

   substance abuse treatment while in custody.” [Id.]. However, according to July 2021 BOP

   records, he has “declined” drug treatment. [Doc. 221, Ex. 1].

         The Court, again, appreciates the defendant’s current disciplinary record and

   rehabilitative programming. That point, however, is substantially outweighed by the

   defendant’s criminal history, his noncompliance with prior conditions of supervision, the

   health and substance abuse record discussed immediately above, and his role in a

   conspiracy which caused immeasurable harm to this region. Further, more than 11 years

   of actual time remain on the defendant’s sentence. See United States v. Kincaid, 802 F.

   App’x 187, 188 (6th Cir. 2020) (Several § 3553(a) factors “permit the court to consider the

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   amount of time served in determining whether a sentence modification is appropriate.”).

   Compassionate release on the facts of this case would not reflect the seriousness of the

   offense of conviction and the defendant’s broader criminal history, would not promote

   respect for the law or provide just punishment, and would not afford adequate deterrence

   or protect the public from future crimes of this defendant.

                            III.   APPOINTMENT OF COUNSEL

        As for the defendant’s request for appointed counsel, there is no constitutional right

   to an attorney in post-conviction proceedings. See Pennsylvania v. Finley, 481 U.S. 551,

   555 (1987) (“[T]he right to appointed counsel extends to the first appeal of right, and no

   further.”); Foster v. United States, 345 F.2d 675, 676 (6th Cir. 1965) (holding that the

   constitutional right to counsel does not extend to collateral proceedings). A district court

   has discretion, under 18 U.S.C. § 3006A(a)(2), to appoint counsel when “the interests of

   justice so require.” In exercising that discretion, a court should consider several factors,

   including the nature of the case, whether the issues are legally or factually complex, and

   the litigant’s ability to present the claims for relief to the court. See Lavado v. Keohane,

   992 F.2d 601, 605 (6th Cir. 1993).

        The compassionate release arguments presented to the Court in this case are

   straightforward and familiar, not beyond the capability of an ordinary pro se litigant.

   Moreover, pursuant to this Court’s Standing Order SO-19-04, Federal Defender Services

   of Eastern Tennessee (“FDSET”) has already been appointed to represent all defendants

   who file a pro se § 3582(c)(1)(A) motion. FDSET has filed notice that, after a review of

   the defendant’s case, it does not intend to submit any pleadings. [Doc. 220].

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                                IV.    CONCLUSION

       As provided herein, the defendant’s motions for compassionate release and for the

 appointment of counsel [docs. 201, 210] are DENIED.

            IT IS SO ORDERED.

                                                    ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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